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                                                         ____________________
                                                                  COURT USE
                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                 JUROR QUESTIONNAIRE

         It is very important that you fill out and return all pages of this questionnaire within five
 (5) days of receipt. You can return it by email to Charlottesville-jury@vawd.uscourts.gov or by
 fax to 434-295-8909. Do not return the Notice for Jury Service with this questionnaire,
 which you will need when you call our automated voice messaging system and when you report
 for jury service.

         Instructions: Please fill out the following questionnaire to assist in selecting a jury in a
 civil case. The purpose of these questions is not to unnecessarily ask persons about personal
 matters. It is to assist in determining whether a prospective juror can fairly and impartially decide
 the case. The information you provide in this questionnaire will be used by the Court and by
 persons associated with this case for purposes of selecting a jury.

        You must fill out the entire questionnaire. If you cannot answer a question because you
 do not understand the question, write “Do Not Understand” in the space after the question. If you
 cannot answer the question because you do not know the answer, write “Do Not Know” in the
 space after the question. Use extra sheets at the end if necessary.

      YOU ARE NOT TO SEEK ADVICE OR HELP IN ANSWERING ANY OF THE
 FOLLOWING QUESTIONS. DO NOT DISCUSS THE CONTENTS OF THE
 QUESTIONNAIRE WITH ANYONE. ALSO, PLEASE DO NOT RESEARCH IN
 NEWSPAPERS OR ON THE INTERNET, THROUGH PERSONAL INQUIRY OF OTHERS,
 OR OTHERWISE, THE ALLEGED EVENTS OF AND PARTIES IN THIS CASE TO WHICH
 THE QUESTIONNAIRE RELATES.

         It is important that the answers be yours alone, and you not discuss the contents of the
 questionnaire with anyone. There are no right or wrong answers, only truthful answers. After you
 complete the questionnaire, you must sign the first page and your answers will have the effect of
 a statement under oath to the Court. Thank you for your candid, honest answers.

         I, ___________________________ (PRINT NAME), hereby declare under penalty of
 perjury that the answers set forth in this Jury Questionnaire are true and correct to the
 best of my knowledge and belief. I have not discussed my answers with others, or received
 assistance in completing this questionnaire. I have answered all of the questions in this Jury
 Questionnaire myself.

        Executed in the Commonwealth of Virginia, on this ____ day of ____________, 2021.

                                                        ______________________
                                                        Signature
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                                         Questionnaire
                                    General Background Questions

    1. Do you have trouble reading, speaking, or understanding English? ____ YES ____ NO

       If yes, please describe:


    2. What is your age:         _____________________

    3. Gender:                   _____________________

    4. Race / ethnic background:
          a. White/Caucasian
          b. Black/African American
          c. Asian
          d. Hispanic/Latino
          e. American Indian/Alaskan Native
          f. Native Hawaiian/Pacific Islander
          g. Other: ___________
          h. Prefer not to say

    5. In Which City or County do you live? _______________________________________
       How long have you lived there?        _____________________

    6. This trial is expected to last approximately four weeks. Do you have any immovable
       scheduling conflicts between October 25, 2021 and November 19, 2021?
       ____ YES ____ NO

       If yes, please explain:


    7. Do you have any impairments (i.e., vision, hearing, other medical problems) that may
       affect your jury service? ___ YES ___ NO

       If yes, please explain:


    8. Marital status: __________________



                                                                                ______________________
                                                                                     COURT USE ONLY




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    9. If you have any children, please indicate the age, gender, education, and occupation of
       each:
               AGE           GENDER                  EDUCATION LEVEL & OCCUPATION




    10. What is the highest level of education you have completed? _____________________



    11. What is your current employment status? (please circle all that apply)

           a.   Employed full-time
           b.   Employed part-time
           c.   Self-employed
           d.   Work from home
           e.   Homemaker
           f.   Retired
           g.   Disabled and unable to work
           h.   Unemployed / laid off
           i.   Student (if so, where and what program? ____________________________)

    12. If you are employed, without indicating where you work, what is your current occupation,
        title, and length of that employment?


    13. If you have a partner/spouse with whom you reside, is that person currently employed?
        ___ YES ___ NO

       If yes, please provide their occupation and job title: ____________________________


    14. Please list any hobbies or special interests you have:


    15. Please list any clubs, associations, or groups to which you or your spouse / partner belong
        in which either of you participates (i.e., civic, social, religious, charitable, volunteer,
        political, sporting, professional, business, or recreational):

           a. Self:    ____________________________________________________________

                       ____________________________________________________________

           b. Spouse/Partner: ____________________________________________________

                       ____________________________________________________________

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    16. Who are three publicly known people you admire most?
           a. _________________________________________________
           b. _________________________________________________
           c. _________________________________________________


    17. Who are three publicly known people you admire least?
           a. _________________________________________________
           b. _________________________________________________
           c. _________________________________________________


    18. Have you, a family member, or a close friend ever worked in or made any application for
        employment with any law enforcement or corrections agency or court system, whether
        local, state, or federal? ____ YES ____ NO
              If YES, please state the person’s relationship to you and describe the name of the
       law enforcement agency / court system:


    19. Would you tend to give more weight or less weight to the testimony of a law enforcement
        officer as compared to a non-law enforcement witness?
           a.   More weight
           b.   About the same amount of weight
           c.   Less weight
           d.   I don’t know/Unsure

    20. Have you had any legal training or courses in the study of law, including any paralegal
        program or on-the-job training? ____ YES ____ NO

       If yes, please explain:


    21. Are you currently or have you ever been a member of, volunteered time with, or given
        financial support to any group or organization which is concerned with ethnic or racial
        issues? (e.g., NAACP, ACLU, Jewish Community Centers (“JCC”), Institute for
        Historical Review, Color of Change, League of Latin American Citizens (“LULAC”),
        etc.) ______ YES _____ NO

       If yes, please list the groups and explain the support given:




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    22. Are you currently or have you ever been a member of any private club, civic,
        professional, or fraternal organization which limits its membership on the basis of race,
        ethnic origin, gender, or religion? (e.g., The Wing, Hillel, fraternities/sororities, etc.).
        ______ YES _____ NO

       If yes, please list the groups and explain your role:


    23. How do you get your news? Please identify the names of any source(s) you regularly
        use, and fill in all that apply:
           a. Newspapers? __________________________________________________
               _____________________________________________________________
           b. Radio? (including Talk Radio and podcasts) _________________________
           c. Television or Cable News? _______________________________________
           d. Internet? (any specific websites?) __________________________________
               ______________________________________________________________
           e. Social Media (e.g., Facebook, Twitter, Instagram, Reddit, Parler, etc.)
               ______________________________________________________________

    24. Have you, a family member, or a close friend ever been a party in a civil lawsuit?
       ___ YES ____ NO
       If yes, were you/they (check all that apply)
                               PLAINTIFF               DEFENDANT
       Yourself                ___________             ____________
       Family Member           ___________             ____________
       Close Friend            ___________             ____________




    25. Have you ever served on a jury? _____ YES         _____ NO
           a. If yes, please state when, the type of case (civil, criminal, or grand jury), whether
              the jury reached a verdict, and whether you served as the foreperson: __________
               __________________________________________________________________
           b. If yes, please briefly note how you felt about your overall experience as a juror:
               __________________________________________________________________




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    26. If you served on a jury before, is there anything about your prior jury service that would
        impact your ability to be a fair and impartial juror on this case? ____ YES _____ NO
       If yes, please explain:


    27. Have you or an immediate family member ever been a victim of a violent crime?
       ___ YES ____ NO
       If yes, please explain:


    28. Have you or an immediate family member ever been injured in a car accident?
       ____ YES ____ NO
       If yes, please explain:


    29. Have you or an immediate family member ever been mistreated due to your race, color,
        religion, sex, national origin, or any other personal characteristic? ____ YES ____ NO
       If yes, please explain:


    30. Have you or an immediate family member ever felt discriminated against due to
        your/their religion? ____ YES ____ NO
       If yes, please explain:


    31. Have you, a family member, or a close friend ever participated in a march / protest (e.g.,
        The Women’s March, Anti-Tax Marches, Occupy Wall Street, March for Life, Anti-
        Mask, Lockdown mandate protests, political campaign rally)?
           a. Yes, me (please explain)        ________________________________________
               ________________________________________________________________
           b. Yes, a family member (please explain) ________________________________
               ________________________________________________________________
           c. Yes, a close friend (please explain) ___________________________________
               ________________________________________________________________
           d. No.




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    32. Have you, a family member, or a close friend ever been arrested or injured in a march or
        protest? (please select all that apply)
                                       ARRESTED                 INJURED
               Yourself                ____________             __________
               Family member           ____________             __________
               Close friend             ____________            __________
    33. Are you familiar with the Black Lives Matter (“BLM”) movement? ____ YES ____ NO
           a. If yes, have you (please select all that apply)
                    i. Shared posts in support of BLM on social media        _____ YES ____ NO
                  ii. Shared posts against BLM on social media               _____ YES ____ NO
                  iii. Attended protests in support of BLM                   _____ YES ____ NO
                  iv. Attended protests against BLM                          _____ YES ____ NO
                   v. Donated funds supporting BLM                           _____ YES ____ NO
           b. If you know, has a close friend or family member (please select all that apply)
                    i. Shared posts in support of BLM on social media        _____ YES ____ NO
                  ii. Shared posts against BLM on social media               _____ YES ____ NO
                  iii. Attended protests in support of BLM                   _____ YES ____ NO
                  iv. Attended protests against BLM                          _____ YES ____ NO
                   v. Donated funds supporting BLM                           _____ YES ____ NO
           c. How would you rate your overall opinion on the Black Lives Matter movement?
                    i.   Extremely favorable
                   ii.   Somewhat favorable
                  iii.   Neutral / Neither favorable nor unfavorable
                  iv.    Somewhat unfavorable
                   v.    Extremely unfavorable

    34. Are you familiar with “Antifa”? ____ YES ____ NO
           a. If yes, how would you describe Antifa: __________________________________
               __________________________________________________________________


           b. If yes, how would you rate your overall opinion on Antifa?
                    i.   Extremely favorable
                   ii.   Somewhat favorable
                  iii.   Neutral / Neither favorable nor unfavorable
                  iv.    Somewhat unfavorable
                   v.    Extremely unfavorable
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    35. Which of the following best describes what you believe statues of Confederate leaders
        (e.g., Robert E. Lee, Stonewall Jackson) represent? (please select all that apply)
           a.   Southern Pride
           b.   Historical Monuments
           c.   Symbols of Racism
           d.   Unsure

    36. How strongly do you approve or disapprove of the removal of Confederate statues?
           a.   Strongly approve
           b.   Somewhat approve
           c.   Neutral / neither approve nor disapprove
           d.   Somewhat disapprove
           e.   Strongly disapprove

    37. How much of a problem, if it all, do you think antisemitism is in the United States today?
           a.   A very serious problem
           b.   Somewhat of a problem
           c.   Not much of a problem
           d.   Not a problem at all

    38. Over the past 5 years, do you think antisemitism in the United States has
           a.   Increased a lot
           b.   Increased somewhat
           c.   Stayed the same
           d.   Decreased a little
           e.   Decreased a lot

    39. In recent years, do you think race relations in the United States have
           a. Gotten better
           b. Stayed the same
           c. Gotten worse

    40. How often do you have discussions about race and race relations?
          a. All the time
          b. Often
          c. Sometimes
          d. Rarely or never




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    41. How concerned are you with the amount of ___________ in the United States today?

           a. Prejudice against people of Jewish descent / Jewish culture
                   i. Extremely concerned
                  ii. Moderately concerned
                 iii. Somewhat concerned
                 iv. Slightly concerned
                  v. Not at all concerned

           b. Racism against Black / African American people
                  i. Extremely concerned
                 ii. Moderately concerned
                iii. Somewhat concerned
                iv. Slightly concerned
                 v. Not at all concerned

           c. Racism against Hispanic / Latino people
                  i. Extremely concerned
                 ii. Moderately concerned
                iii. Somewhat concerned
                iv. Slightly concerned
                 v. Not at all concerned

           d. Racism against White/Caucasian people
                  i. Extremely concerned
                 ii. Moderately concerned
                iii. Somewhat concerned
                iv. Slightly concerned
                 v. Not at all concerned

                                    Case Specific Questions
    42. This case involves allegations against the Defendants—identified as organizers and
        promoters of the “Unite the Right” rally held in Charlottesville on August 11-12, 2017—
        by the Plaintiffs—identified as private citizens who attended the Unite the Right rally as
        counter-protestors—that the Defendants were responsible for the injuries that the
        Plaintiffs suffered during Unite the Right. Have you heard or read anything about this
        case? ____ YES ____ NO
        If YES, please explain what you have heard or read:



    43. Is there anything about the nature of the allegations or the parties involved that would
        make it difficult for you to be a fair and impartial juror in such a case? ___ YES ___ NO

       If YES, please explain:


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     44. Are you familiar with any of the following organizations / groups?

                                                        YES           NO
                Vanguard America                        ____          ____
                Traditionalist Worker Party             ____          ____
                League of the South                     ____          ____
                National Socialist Movement             ____          ____
                Nationalist Front                       ____          ____
                Fraternal Order of the Alt-Knights      ____          ____
                Loyal White Knights of the
                Ku Klux Klan                            ____          ____
                East Coast Knights of the Ku
                Klux Klan (a/k/a East Coast Knights
                of the True Invisible Empire)       ____              ____
                Identity Evropa                         ____          ____

                If you answered YES to any of the above, please explain how you are familiar
                with the organization(s) and if you know anyone who is or was ever a member of
                the organization(s). _________________________________________________
                _________________________________________________________________
                _________________________________________________________________


     45. Are you familiar with the Unite the Right rally that took place in Charlottesville, Virginia
         from August 11-12, 2017? ____ YES ____ NO

        If YES, how would you describe the amount of media coverage you followed about the
        rally?

                ____ A lot (read many articles or watched many television accounts)
                ____ A moderate amount (just basic coverage in the news)
                ____ A little (barely heard about it)

     46. Did you follow the media / news surrounding the death of Heather Heyer and injuries to
         others at the Unite the Right rally? ____ YES ____ NO

        If YES, how would you describe the amount of media coverage you followed about the
        rally?

                ____ A lot (read many articles or watched many television accounts)


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                ____ A moderate amount (just basic coverage in the news)
                ____ A little (barely heard about it)

     47. Are you familiar with the organization “Integrity First for America”? ____ YES ___ NO

        If YES, please describe:


     48. The following names are a list of the Plaintiffs and Defendants named in this case. Do
         you know or have any personal connection whatsoever to any of the following
         individuals? ____ YES ____ NO

                Plaintiffs                              Defendants

                Elizabeth Sines                         Jason Kessler
                Seth Wispelwey                          Richard Spencer
                Marissa Blair                           Christopher Cantwell
                Devin Willis                            James Alex Fields, Jr.
                April Muniz                             Andrew Anglin
                Marcus Martin                           Robert “Azzmador” Ray
                Natalie Romero                          Nathan Damigo
                Chelsea Alvarado                        Elliot Kline (aka Eli Mosley)
                Thomas Baker                            Matthew Heimbach
                                                        Matthew Parrott
                                                        Michael Hill
                                                        Michael Tubbs
                                                        Jeff Schoep
                                                        Augustus Sol Invictus
                                                        Michael “Enoch” Peinovich

        If YES, please explain:


     49. The following names are a list of attorneys representing the Plaintiffs and the Defendants.
         Do you know, or have you ever been represented by, these lawyers or their law firms?

                Kaplan Hecker & Fink LLP:
                Alexandra Kendal Conlon, Benjamin D. White, Emily C. Cole, Jonathan R. Kay,
                Julie E. Fink, Michael L. Bloch, Raymond P. Tolentino, Roberta A. Kaplan,
                Yotam Barkai

                Paul, Weiss, Rifkind, Wharton & Garrison LLP
                Agbeko C. Petty, Arpine S. Lawyer, Jessica E. Phillips, Karen L. Dunn,
                Makiko B. Hiromi, Nicholas A. Butto, William A. Isaacson



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               Cooley LLP
               Alan Levine, Alexandra Eber, Amanda L. Liverzani, Caitlin B. Munley, Daniel P.
               Roy, III, David E. Mills, Robert T. Cahill, Samantha A. Strauss, Joshua M. Siegel

               Woods Rogers PLC: John B. Rottenborn

               Boies Schiller Flexner LLP: Katherine M. Cheng

               Kolenich Law Office: James E. Kolenich

               Elmer Woodard

               Bryan Jones Legal: Bryan Jones

               Duane, Hauck, Davis & Gravatt, P.C.: David L. Campbell, Justin Saunders
               Gravatt

               The ReBrook Law Office: William Edward ReBrook, IV

               Smith LLC: Joshua Smith

        ____ YES ____ NO.

        If YES, please explain:



     50. Are you or any of your close friends or family members employed by any of the lawyers
         or law firms in this case? ____ YES ____ NO

        If YES, please explain:


     51. Do you know any of the following individuals? ____ YES ____ NO

        Deborah E. Lipstadt, Ph.D
        Stephen Fenton, P.E.
        Kathleen M. Blee, Ph.D.
        Peter Simi, Ph.D

        If YES, please explain:




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                                        COVID-19 Questions


     52. Within the last 14 days, have you traveled outside of Virginia? ____ YES ____ NO

        If yes, please explain.


     53. Within the last 14 days, have you been diagnosed with COVID-19? ____ YES ____ NO

        If yes, please explain.


     54. Within the last 14 days, have you had contact with anyone who has been diagnosed with
         COVID-19 or who is currently sick with suspected COVID-19? ___ YES ____ NO

        If yes, please explain.



     55. Within the last 14 days, have you, or someone you have been in close contact with, been
         directed to quarantine, isolate, or self-monitor?

        ____ YES       ____ NO

        If yes, please explain.



     56. Within the last 14 days, have you experienced a fever or chills, persistent cough,
         shortness of breath or difficulty breathing, new loss of taste or smell, or other flu-like
         symptoms?

        ____ YES       ____ NO

        If yes, please explain.



     57. Within the last 14 days, have you resided with, or been in close contact with, any person
         in the above-mentioned categories? ___ YES ___ NO

        If yes, please explain.



     58. Within the last 14 days, have you received a test for COVID-19? ___ YES ___ NO

        If yes, when and what was the result?

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     59. Within the last 14 days, have you requested to be tested for COVID-19 and been denied
         the test? ___ YES ___ NO

        If yes, please explain.



     60. Are you a healthcare worker directly involved with the treatment of the COVID-19
         disease, or work in another field that puts in you in direct contact with people who have
         been diagnosed with COVID-19? ___ YES ___ NO

        If yes, please explain.



     61. Are you over age 65, or a person of any age with an underlying medical condition that
         puts you at a higher risk of developing serious health complications from COVID-19, or
         do you live with or provide direct care for a vulnerable person? ___ YES ___ NO

        If yes, please explain.



     62. Do you have children at home who require your direct supervision due to school and/or
         daycare closings? Note: only answer YES if there is NO ONE else in the household who
         can provide care during your jury service. ___ YES ___ NO

        If yes, please explain.



     63. Have you experienced any economic or job-related hardships as a result of COVID-19
         that you believe would have a significant impact on your ability to pay attention and fully
         concentrate on the evidence in this case? ____ YES ____ NO

        If yes, please explain.



     64. The Court will be implementing procedures to maintain physical distance and minimize
         the potential exposure to COVID-19 in the courtroom. Even with these precautions, do
         you have any concerns related to COVID-19 that would affect your ability to pay
         attention and fully concentrate on the evidence in this case?

        ____ YES      ____ NO

        If yes, please explain.



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        If yes, do you believe that you can set aside your concerns regarding COVID-19 and
        focus your attention on listening to the evidence and deliberating with other jurors?

          ____ YES      ____ NO



     65. This case is scheduled to last four weeks, from October 25, 2021 to November 19, 2021.
         Does the COVID-19 pandemic make you particularly worried about sitting on a jury for
         such duration? _____ YES ____ NO

        If yes, please explain.



     66. Have you been vaccinated against COVID-19? ____ YES ____ NO

     67. If yes to Number 66, do you still require another dose of a two-dose vaccine?

        ____ YES      ____ NO

        If yes, please explain.

     68. Are you willing to abide by any rules that the Court institutes regarding social distancing
         and wearing masks during trial if you are selected as a juror?

        ____ YES      ____ NO

        If no, please explain.

     69. Are you willing to notify the Court immediately if, during trial, you feel ill OR are
         exposed to anyone feeling ill?

         ____ YES      ____ NO

        If no, please explain.

                                          Final Questions

     70. Under the law, the facts at issue in the trial are for the jury to determine. The law
         applicable to the allegations in the case is something on which the court will instruct you.
         You are required to accept the law as the judge explains it to you regardless of any
         opinions you might have as to what the law is or should be. Would you have any
         difficulty following that instruction if it was at odds with your own views of what the law
         should be? ____ YES ___ NO
        If yes, please explain.



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     71. Do you have any moral, religious, or personal beliefs which would prevent you from
         rendering a fair and impartial verdict in this case, based solely on the evidence you will
         hear in the courtroom and the court’s instructions on the law? ____ YES ____ NO

        If YES, please explain:



     72. Would you be able to set aside pre-conceived opinions (if any) you may have about the
         Unite the Right rally, this case and the parties therein, and reach a decision based solely
         upon the evidence you hear at trial in accordance with the law as instructed by the Court?
         ___ YES ___ NO
        If no, please explain.



     73. Is there anything else that you think the Court should know that might influence your
         ability to fairly and impartially judge the evidence presented in this case and apply the
         law as instructed by the Court? ___ YES ___ NO
        If yes, please explain.




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